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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Gregory Godfrey, et al.
                                       Plaintiff,
v.                                                     Case No.: 1:18−cv−07918
                                                       Honorable Matthew F. Kennelly
Greatbanc Trust Company, et al.
                                       Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 7, 2019:


        MINUTE entry before the Honorable Matthew F. Kennelly: Motion hearing held
on 3/7/2019. Motion to compel [30] is granted for reasons stated in open court. Mailed
notice. (pjg, )




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